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                                       1.1
                         General Preliminary Instruction
Members of the Jury:

      Now that you’ve been sworn, I need to explain some basic principles about a

civil trial and your duty as jurors. These are preliminary instructions. I’ll give you

more detailed instructions at the end of the trial.

The jury’s duty:

      It’s your duty to listen to the evidence, decide what happened, and apply the

law to the facts. It’s my job to provide you with the law you must apply – and you

must follow the law even if you disagree with it.

What is evidence:

      You must decide the case on only the evidence presented in the courtroom.

Evidence comes in many forms. It can be testimony about what someone saw, heard,

or smelled. It can be an exhibit or a photograph. It can be someone’s opinion.

      Some evidence may prove a fact indirectly. Let’s say a witness saw wet grass

outside and people walking into the courthouse carrying wet umbrellas. This may be

indirect evidence that it rained, even though the witness didn’t personally see it rain.

Indirect evidence like this is also called “circumstantial evidence” – simply a chain

of circumstances that likely proves a fact.




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      As far as the law is concerned, it makes no difference whether evidence is

direct or indirect. You may choose to believe or disbelieve either kind. Your job is

to give each piece of evidence whatever weight you think it deserves.

What is not evidence:

      During the trial, you’ll hear certain things that are not evidence and you must

not consider them.

      First, the lawyers’ statements and arguments aren’t evidence. In their opening

statements and closing arguments, the lawyers will discuss the case. Their remarks

may help you follow each side’s arguments and presentation of evidence. But the

remarks themselves aren’t evidence and shouldn’t play a role in your deliberations.

      Second, the lawyers’ questions and objections aren’t evidence. Only the

witnesses’ answers are evidence. Don’t decide that something is true just because a

lawyer’s question suggests that it is. For example, a lawyer may ask a witness, “You

saw Mr. Jones hit his sister, didn’t you?” That question is not evidence of what the

witness saw or what Mr. Jones did – unless the witness agrees with it.

      There are rules of evidence that control what the court can receive into

evidence. When a lawyer asks a witness a question or presents an exhibit, the

opposing lawyer may object if [he/she] thinks the rules of evidence don’t permit it.

If I overrule the objection, then the witness may answer the question or the court

may receive the exhibit. If I sustain the objection, then the witness cannot answer


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the question, and the court cannot receive the exhibit. When I sustain an objection

to a question, you must ignore the question and not guess what the answer might

have been.

      Sometimes I may disallow evidence – this is also called “striking” evidence –

and order you to disregard or ignore it. That means that you must not consider that

evidence when you are deciding the case.

      I may allow some evidence for only a limited purpose. When I instruct you

that I have admitted an item of evidence for a limited purpose, you must consider it

for only that purpose and no other.

Credibility of witnesses:

      To reach a verdict, you may have to decide which testimony to believe and

which testimony not to believe. You may believe everything a witness says, part of

it, or none of it. When considering a witness’s testimony, you may take into account:

      · the witness’s opportunity and ability to see, hear, or know the things
        the witness is testifying about;
      · the witness’s memory;
      · the witness’s manner while testifying;
      · any interest the witness has in the outcome of the case;
      · any bias or prejudice the witness may have;
      · any other evidence that contradicts the witness’s testimony;
      · the reasonableness of the witness’s testimony in light of all the
        evidence; and


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      · any other factors affecting believability.
      At the end of the trial, I’ll give you additional guidelines for determining a

witness’s credibility.

Description of the case:

      This is a civil case. To help you follow the evidence, I’ll summarize the

parties’ positions. The Plaintiff, Lee Edward Anderson, claims the Defendants,

Brevard County Sheriff Wayne Ivey and Deputy Zachary Ferreira unlawfully

stopped and arrested Anderson in violation of federal and state law for possession of

cocaine and drug paraphernalia. Defendants Ivey and Ferreira deny those claims

and contend that probable cause existed to stop and arrest Anderson.

Burden of proof:

      Lee Edward Anderson has the burden of proving his case by what the law

calls a “preponderance of the evidence.” That means Lee Edward Anderson must

prove that, in light of all the evidence, what he claims is more likely true than not.

So, if you could put the evidence favoring Lee Edward Anderson and the evidence

favoring Defendants Ivey and Ferreira on opposite sides of balancing scales, Lee

Edward Anderson needs to make the scales tip to his side. If Lee Edward Anderson

fails to meet this burden, you must find in favor of Defendants Ivey and Ferreira.

      To decide whether any fact has been proved by a preponderance of the

evidence, you may – unless I instruct you otherwise – consider the testimony of all


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witnesses, regardless of who called them, and all exhibits that the court allowed,

regardless of who produced them. After considering all the evidence, if you decide

a claim or fact is more likely true than not, then the claim or fact has been proved by

a preponderance of the evidence.

      On certain issues, called “affirmative defenses,” Defendants Ivey and Ferreira

have the burden of proving the elements of a defense by a preponderance of the

evidence. I’ll instruct you on the facts Defendants Ivey and Ferreira must prove for

any affirmative defense. After considering all the evidence, if you decide that

Defendants Ivey and Ferreira have successfully proven that the required facts are

more likely true than not, the affirmative defense is proved.

      While serving on the jury, you may not talk with anyone about anything

related to the case. You may tell people that you’re a juror and give them information

about when you must be in court. But you must not discuss anything about the case

itself with anyone.

      You shouldn’t even talk about the case with each other until you begin your

deliberations. You want to make sure you’ve heard everything – all the evidence,

the lawyers’ closing arguments, and my instructions on the law – before you begin

deliberating. You should keep an open mind until the end of the trial. Premature

discussions may lead to a premature decision.




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      In this age of technology, I want to emphasize that in addition to not talking

face-to-face with anyone about the case, you must not communicate with anyone

about the case by any other means. This includes e-mails, text messages, phone

calls, and the Internet, including social-networking websites and apps such as

Facebook, Instagram, Snapchat, YouTube, and Twitter. You may not use any

similar technology of social media, even if I have not specifically mentioned it here.

      You must not provide any information about the case to anyone by any means

whatsoever, and that includes posting information about the case, or what you are

doing in the case, on any device or Internet site, including blogs, chat rooms, social

websites, or any other means.

      You also shouldn’t Google or search online or offline for any information

about the case, the parties, or the law. Don’t read or listen to the news about this

case, visit any places related to this case, or research any fact, issue, or law related

to this case. The law forbids the jurors to talk with anyone else about the case and

forbids anyone else to talk to the jurors about it. It’s very important that you

understand why these rules exist and why they’re so important. You must base your

decision only on the testimony and other evidence presented in the courtroom. It is

not fair to the parties if you base your decision in any way on information you

acquire outside the courtroom. For example, the law often uses words and phrases

in special ways, so it’s important that any definitions you hear come only from me


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and not from any other source. Only you jurors can decide a verdict in this case. The

law sees only you as fair, and only you have promised to be fair – no one else is so

qualified.

Taking notes:

      If you wish, you may take notes to help you remember what the witnesses

said. If you do take notes, please don’t share them with anyone until you go to the

jury room to decide the case. Don’t let note-taking distract you from carefully

listening to and observing the witnesses. When you leave the courtroom, you should

leave your notes hidden from view in the jury room.

      Whether or not you take notes, you should rely on your own memory of the

testimony. Your notes are there only to help your memory. They’re not entitled to

greater weight than your memory or impression about the testimony.

Course of the trial:

      Let’s walk through the trial. First, each side may make an opening statement,

but they don’t have to. Remember, an opening statement isn’t evidence, and it’s not

supposed to be argumentative; it’s just an outline of what that party intends to prove.

      Next, Plaintiff Anderson will present his witnesses and ask them questions.

After Plaintiff Anderson questions the witness, Defendants Ivey and Ferreira may

ask the witness questions – this is called “cross-examining” the witness. Then

Defendants Ivey and Ferreria will present their witnesses, and Plaintiff Anderson


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 may cross-examine them. You should base your decision on all the evidence,

 regardless of which party presented it.

        After all the evidence is in, the parties’ lawyers will present their closing

 arguments to summarize and interpret the evidence for you, and then I’ll give you

 instructions on the law.

        [Note: Some judges may wish to give some instructions before closing

 arguments. See Fed. R. Civ. P. 51(b)(3).]

        You’ll then go to the jury room to deliberate.

 ANNOTATIONS AND COMMENTS
 No annotations associated with this instruction.




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 1.4 Jury Questions

       During this trial, you may submit questions to a witness after the lawyers have

 finished their own questioning. Here is how the procedure works: After each witness

 has testified, and the lawyers have asked all of their questions, I’ll ask if any of you

 have questions. If you have a question, write it down and give it to the court staff.

       You may submit a question for a witness only to clarify an answer or to help

 you understand the evidence. Our experience with juror questions indicates that

 jurors rarely have more than a few questions for any one witness, and there may be

 no questions at all for some witnesses.

       If you submit a question, the court staff will give it to me and I’ll share your

 questions with the lawyers in the case. If the rules of evidence allow your question,

 one of the lawyers or I will read your question to the witness. I may modify the form

 or phrasing of a question so that it’s allowed under the evidence rules. Sometimes, I

 may not allow the questions to be read to the witness, either because the law does

 not allow it or because another witness is in a better position to answer the question.

 If I can’t allow the witness to answer a question, you must not draw any conclusions

 from that fact or speculate on what the answer might have been.

       Here are several important things to keep in mind about your questions for the

 witnesses:

       · First, you must submit all questions in writing. Please don’t ask any
         questions aloud.
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        · Second, the court can’t re-call witnesses to the stand for additional
          juror questions. If you have a question for a particular witness, you
          must submit it when I ask.

        · Finally, because you should remain neutral and open-minded
          throughout the trial, you should phrase your questions in a way that
          doesn’t express an opinion about the case or a witness. You must keep
          an open mind until you’ve heard all the evidence, the closing
          arguments, and my final instructions on the law.
 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




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 1.5 Interim Statements

        At times during the trial, the lawyers will address you. You’ll soon hear the

 lawyers’ opening statements, and at the trial’s conclusion you’ll hear their closing

 arguments. Sometimes the lawyers may choose to make short statements to you,

 either to preview upcoming evidence or to summarize and highlight evidence they

 just presented. These statements and arguments are the lawyers’ views of the

 evidence or of what they anticipate the evidence will be. They are not evidence

 themselves.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




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 2.1 Stipulations

        Sometimes the parties have agreed that certain facts are true. This agreement

 is called a stipulation. You must treat these facts as proved for this case.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




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 2.2 Use of Depositions

        A deposition is a witness’s sworn testimony that is taken before the trial.

 During a deposition, the witness is under oath and swears to tell the truth, and the

 lawyers for each party may ask questions. A court reporter is present and records the

 questions and answers.

        The deposition of [name of witness], taken on [date], [is about to be/has been]

 presented to you [by a video/by reading the transcript]. Deposition testimony is

 entitled to the same consideration as live testimony, and you must judge it in the

 same way as if the witness was testifying in court.

        [Do not place any significance on the behavior or tone of voice of any person

 reading the questions or answers.]

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




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 2.3 Use of Recorded Conversations and Transcripts

        Now you’re going to hear [a] recorded conversation[s]. This is proper

 evidence for you to consider. Please listen to it very carefully. I’m going to allow

 you to have a transcript of the recording [prepared by name of preparer] to help you

 identify speakers and guide you through the recording. But remember that it is the

 recording that is evidence – not the transcript. If you believe at any point that the

 transcript says something different from what you hear on the recording, disregard

 that portion of the transcript and rely instead on what you hear.

        [In this case, there are two transcripts because there is a difference of opinion

 about what is said on the recording. You may disregard any portion of one or both

 transcripts if you believe they reflect something different from what you hear on the

 recording. It’s what you hear on the recording that is evidence – not the transcripts.]

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




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 2.4 Interim Statements

        At the beginning of the trial, I told you that the lawyers might make short

 statements previewing upcoming evidence or summarizing and highlighting

 evidence that they have already presented before. Right now, [Mr./Ms.] [name of

 attorney] is going to make a short statement. Please remember that the statement you

 are about to hear – like all statements by the lawyers – is [Mr./Ms.] [name of

 attorney]’s view of the evidence or of what [he/she] anticipates the evidence will be,

 but isn’t itself evidence.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




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 2.5 Judicial Notice

        The rules of evidence allow me to accept facts that no one can reasonably

 dispute. The law calls this “judicial notice.” I’ve accepted [state the fact that the

 court has judicially noticed] as proved even though no one introduced evidence to

 prove it. You must accept it as true for this case.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




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 2.6 Use of Interrogatories

        [You’ll now hear/You’ve heard] answers that [name of party] gave in

 response to written questions the other side submitted. The questions are called

 “interrogatories.” Before the trial, [name of party] gave the answers in writing while

 under oath.

        You must consider [name of party]’s answers to as though [name of party]

 gave the answers on the witness stand.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




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 2.7 In-Trial Instructions on News Coverage

        Reports about this trial [or about this incident] may appear in the media. The

 reporters may not have heard all the testimony as you have, may be getting

 information from people who are not under oath and subject to cross examination,

 may emphasize an unimportant point, or may simply be wrong.

        You must not read, listen to, or watch anything about this trial. It would violate

 your oath as a juror to decide this case on anything other than the evidence presented

 at trial and on your own common sense. You must decide this case exclusively on

 the evidence you receive here in court.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




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 3.1 Introduction

                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

                            CASE NO.: 6:19-cv-2014-JA-GJK

 LEE EDWARD ANDERSON,

              Plaintiff,

 vs.
 WAYNE IVEY, in his official capacity as
 Sheriff of Brevard County, Florida, and
 ZACHARY FERREIRA, individually,

           Defendants.
 _______________________________________/

                     COURT’S INSTRUCTIONS TO THE JURY

        Members of the jury:

        It’s my duty to instruct you on the rules of law that you must use in deciding

 this case.

        When I have finished you will go to the jury room and begin your discussions,

 sometimes called deliberations.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




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 3.2.3 The Duty to Follow Instructions – Government Entity or Agency Involved

        Your decision must be based only on the evidence presented here. You must

 not be influenced in any way by either sympathy for or prejudice against anyone.

        You must follow the law as I explain it – even if you do not agree with the

 law – and you must follow all of my instructions as a whole. You must not single

 out or disregard any of the instructions on the law.

        The fact that a governmental entity or agency is involved as a party must not

 affect your decision in any way. A governmental agency and all other persons stand

 equal before the law and must be dealt with as equals in a court of justice. When a

 governmental agency is involved, of course, it may act only through people as its

 employees; and, in general, a governmental agency is responsible under the law for

 the acts and statements of its employees that are made within the scope of their duties

 as employees of the governmental agency.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




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 3.3 Consideration of Direct and Circumstantial Evidence;
     Argument of Counsel; Comments by the Court

        As I said before, you must consider only the evidence that I have admitted in

 the case. Evidence includes the testimony of witnesses and the exhibits admitted.

 But, anything the lawyers say is not evidence and isn’t binding on you.

        You shouldn’t assume from anything I’ve said that I have any opinion about

 any factual issue in this case. Except for my instructions to you on the law, you

 should disregard anything I may have said during the trial in arriving at your own

 decision about the facts.

        Your own recollection and interpretation of the evidence is what matters.

        In considering the evidence you may use reasoning and common sense to

 make deductions and reach conclusions. You shouldn’t be concerned about whether

 the evidence is direct or circumstantial.

        “Direct evidence” is the testimony of a person who asserts that he or she has

 actual knowledge of a fact, such as an eyewitness.

        “Circumstantial evidence” is proof of a chain of facts and circumstances that

 tend to prove or disprove a fact. There’s no legal difference in the weight you may

 give to either direct or circumstantial evidence.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




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 3.4 Credibility of Witnesses

        When I say you must consider all the evidence, I don’t mean that you must

 accept all the evidence as true or accurate. You should decide whether you believe

 what each witness had to say, and how important that testimony was. In making that

 decision you may believe or disbelieve any witness, in whole or in part. The number

 of witnesses testifying concerning a particular point doesn’t necessarily matter.

        To decide whether you believe any witness I suggest that you ask yourself a

 few questions:

        1. Did the witness impress you as one who was telling the truth?

        2. Did the witness have any particular reason not to tell the truth?

        3. Did the witness have a personal interest in the outcome of the case?
        4. Did the witness seem to have a good memory?

        5. Did the witness have the opportunity and ability to accurately
           observe the things he or she testified about?

        6. Did the witness appear to understand the questions clearly and
           answer them directly?

        7. Did the witness’s testimony differ from other testimony or other
           evidence?
 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




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 3.5.1 Impeachment of Witnesses Because of Inconsistent Statements

        You should also ask yourself whether there was evidence that a witness

 testified falsely about an important fact. And ask whether there was evidence that at

 some other time a witness said or did something, or didn’t say or do something, that

 was different from the testimony the witness gave during this trial.

        But keep in mind that a simple mistake doesn’t mean a witness wasn’t telling

 the truth as he or she remembers it. People naturally tend to forget some things or

 remember them inaccurately. So, if a witness misstated something, you must decide

 whether it was because of an innocent lapse in memory or an intentional deception.

 The significance of your decision may depend on whether the misstatement is about

 an important fact or about an unimportant detail.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




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 3.5.2 Impeachment of Witnesses Because of Inconsistent Statements
       or Felony Conviction

        You should also ask yourself whether there was evidence that a witness

 testified falsely about an important fact. And ask whether there was evidence that at

 some other time a witness said or did something, or didn’t say or do something, that

 was different from the testimony the witness gave during this trial.

        To decide whether you believe a witness, you may consider the fact that the

 witness has been convicted of a felony or a crime involving dishonesty or a false

 statement.

        But keep in mind that a simple mistake doesn’t mean a witness wasn’t telling

 the truth as he or she remembers it. People naturally tend to forget some things or

 remember them inaccurately. So, if a witness misstated something, you must decide

 whether it was because of an innocent lapse in memory or an intentional deception.

 The significance of your decision may depend on whether the misstatement is about

 an important fact or about an unimportant detail.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




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 3.7.1 Responsibility for Proof – Plaintiff’s Claim[s], Cross Claims,
       Counterclaims – Preponderance of the Evidence

        In this case it is the responsibility of the Plaintiff to prove every essential part

 of his claim by a “preponderance of the evidence.” This is sometimes called the

 “burden of proof” or the “burden of persuasion.”

        A “preponderance of the evidence” simply means an amount of evidence that

 is enough to persuade you that the Plaintiff claim is more likely true than not true.

        If the proof fails to establish any essential part of a claim or contention by a

 preponderance of the evidence, you should find against the Plaintiff.

        [When more than one claim is involved, you should consider each claim

 separately.]

        In deciding whether any fact has been proved by a preponderance of the

 evidence, you may consider the testimony of all of the witnesses, regardless of who

 may have called them, and all of the exhibits received in evidence, regardless of who

 may have produced them.

        If the proof fails to establish any essential part of the Plaintiff’s claim[s] by a

 preponderance of the evidence, you should find for the Defendants as to that claim.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




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 3.8.1 Duty to Deliberate When Only the Plaintiff Claims Damages

        Of course, the fact that I have given you instructions concerning the issue of

 Plaintiff’s damages should not be interpreted in any way as an indication that I

 believe that the Plaintiff should, or should not, prevail in this case.

        Your verdict must be unanimous – in other words, you must all agree. Your

 deliberations are secret, and you’ll never have to explain your verdict to anyone.

        Each of you must decide the case for yourself, but only after fully considering

 the evidence with the other jurors. So you must discuss the case with one another

 and try to reach an agreement. While you’re discussing the case, don’t hesitate to

 reexamine your own opinion and change your mind if you become convinced that

 you were wrong. But don’t give up your honest beliefs just because others think

 differently or because you simply want to get the case over with.

        Remember that, in a very real way, you’re judges – judges of the facts. Your

 only interest is to seek the truth from the evidence in the case.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




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 3.9 Election of Foreperson Explanation of Verdict Form[s]

        When you get to the jury room, choose one of your members to act as

 foreperson. The foreperson will direct your deliberations and speak for you in court.

        A verdict form has been prepared for your convenience.

                                     [Explain verdict]

        Take the verdict form with you to the jury room. When you’ve all agreed on

 the verdict, your foreperson must fill in the form, sign it and date it. Then you’ll

 return it to the courtroom.

        If you wish to communicate with me at any time, please write down your

 message or question and give it to the court security officer. The court security

 officer will bring it to me and I’ll respond as promptly as possible – either in writing

 or by talking to you in the courtroom. Please understand that I may have to talk to

 the lawyers and the parties before I respond to your question or message, so you

 should be patient as you await my response. But I caution you not to tell me how

 many jurors have voted one way or the other at that time. That type of information

 should remain in the jury room and not be shared with anyone, including me, in your

 note or question.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




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                                  5.0
        Civil Rights – 42 U.S.C. § 1983 Claims – Introductory
                             Annotations

        I.     Applicability of Instructions in this Chapter

        The instructions in this Chapter apply to constitutional claims asserted under 42
 U.S.C. § 1983 for actions taken under color of state law and claims asserted under Bivens
 v. Six Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971), for
 actions taken under color of federal law. Bolin v. Story, 225 F.3d 1234, 1242 (11th Cir.
 2000) (“[F]ederal courts incorporate § 1983 law into Bivens actions.” (citation omitted)).

        II.    Qualified Immunity

         In cases under § 1983 or Bivens, the named defendants will often assert on
 motion for summary judgment prior to trial a qualified immunity defense to be
 addressed by the court under the standards summarized in Brown v. City of
 Huntsville, Ala., 608 F.3d 724, 733-34 (11th Cir. 2010). The instructions in this chapter
 presume that the court has previously determined that the defendants do not have a
 qualified immunity defense. If there is a genuine issue of material fact pertaining to
 the qualified immunity defense and that issue is not subsumed in the elements of the
 claim the plaintiff must prove, the model instructions should be revised accordingly.
 See Johnson v. Breeden, 280 F.3d 1308, 1318 (11th Cir. 2002) (“A tool used to
 apportion the jury and court functions relating to qualified immunity issues in cases that
 go to trial is special interrogatories to the jury.”).

        III.   Multiple Defendants and Government Liability

         If the plaintiff claims that more than one defendant is liable for a § 1983 or
 Bivens claim, the model charges may be modified to accommodate multiple defendants.
 Further, if the plaintiff seeks to hold a government entity or individual supervisor
 liable, Pattern Instruction 5.10 et seq. may be incorporated into the instructions as
 appropriate. In doing so, the court should make clear that government entities are
 immune from punitive damages.


 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




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                                         5.3
    Civil Rights – 42 U.S.C. § 1983 Claims – Fourth Amendment Claim – Private
    Person Alleging Unlawful Arrest, Unlawful Search, or Unlawful Terry Stop

       In this case, Plaintiff Anderson claims that Defendant Ferreira, while acting

 under color of law intentionally committed acts that violated Plaintiff Anderson’s

 constitutional rights not to be subjected to an unreasonable investigatory stop and

 not to be arrested without probable cause.

       Under the Fourth Amendment to the United States Constitution, every

 person has the right not to be subjected to an unreasonable investigatory

 stop and not to be arrested without probable cause.

       To succeed on this claim, Plaintiff Anderson must prove each of the

 following facts by a preponderance of the evidence:

       First:     That Defendant Ferreira intentionally committed acts that

 violated Plaintiff Anderson’s constitutional right not to be subjected to an

 unreasonable investigatory stop and not to be arrested without probable cause.

       Second: That Defendant Ferreira’s conduct caused Plaintiff Anderson’s

 injuries; and.

       Third:     That Defendant Ferreira acted under color of law. The parties

 have agreed that Defendant Ferreira acted under color of law, so you should

 accept that as a proven fact.


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       (First element for unlawful Terry stop claims):

       For the first element, Plaintiff Anderson claims that he was subjected to an

 unreasonable investigatory stop. Plaintiff Anderson may succeed in showing that

 the investigatory stop was unreasonable if he proves either that Defendant

 Ferreira did not have a reasonable suspicion that Plaintiff Anderson was involved

 in, or was about to be involved in, criminal activity; or that the stop was not

 reasonable in scope.

       A reasonable suspicion is a particularized and objective basis for suspecting

 an individual of criminal activity. To determine whether the scope of the stop

 is reasonable, you should consider the law enforcement purposes served by the

 stop, the diligence with which the officer[s] pursued investigation, the

 intrusiveness of the stop, and the length of the stop. In making these

 determinations, you should consider the totality of the circumstances and

 focus on all of the information available to Defendant Ferreira at the time that

 the officer[s] executed the stop.

       (First element for unlawful arrest claims):

       For the first element, Plaintiff Anderson claims that Defendant Ferreira

 arrested Plaintiff Anderson without probable cause. Defendant Ferreira may

 arrest a person without a warrant whenever the facts and circumstances within


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 Defendant Ferreira’s knowledge, based on reasonably trustworthy information,

 would cause a reasonable officer to believe that the person has committed,

 is committing, or is about to commit an offense. It is a criminal offense for

 any person to possess cocaine and drug paraphernalia that Plaintiff Anderson was

 alleged to have commited.]

          Plaintiff’s Proposed additional instruction: A police officer may not conduct

 an investigation in a biased fashion or elect not to obtain easily discernible facts,

 nor may an officer choose to ignore or “close his eyes” to facts that would clarify

 the circumstances of the arrest.1 [Defendants object to this instruction.]

          Plaintiff’s Proposed additional instruction: A mere possibility that the

 person has committed a crime is not enough. The hunch, guess, conjecture, or

 surmise of an officer is not enough, and there must be enough actual evidence to

 reasonably lead to the conclusion that the suspect has committed a crime. If you

 find that the defendant arrested the plaintiff without probable cause, you must find

 the defendant liable for a violation of the plaintiff’s constitutional rights.2

 [Defendants object to this instruction.]




 1
   Carter v. Butts Co., Ga., 821 F.3d 1310, 1321 (11th Cir. 2016)(quoting Kingsland v. City of Miami, 382 F.3d 1270,
 1229 (11th Cir. 2004)).
 2 Dunaway v. New York, 442 U.S.200 (1979).




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       For the second element, Defendant Ferreira’s conduct caused Plaintiff

 Anderson’s injuries if Plaintiff Anderson would not have been injured without

 Defendant Ferreira’s conduct, and the injuries were a reasonably foreseeable

 consequence of Defendant Ferreira’s conduct.

       [For the third element, you must decide whether Defendant Ferreira acted

 under color of law. A government official acts “under color” of law when

 acting within the limits of lawful authority. He also acts under color of law

 when he claims to be performing an official duty but his acts are outside the

 limits of lawful authority and abusive in manner, or he acts in a way that

 misuses his power and is able to do so only because he is an official.

       If you find Plaintiff Anderson has proved each fact that he must prove,

 you must decide the issue of his damages. If you find that Plaintiff Anderson has

 not proved each of these facts, then you must find for Defendant Ferreira.

       NOTE: Model Jury Interrogatory Forms may be found in the appendices

 after the last civil rights jury instruction (Number 5.13) for use in actions brought

 under 42 U.S.C. § 1983. Three types of Model Jury Interrogatory Forms are

 provided: (A) a simplified Interrogatory Form for use in most civil right actions;

 (B) an Interrogatory Form for use in actions that do not require application of

 the Prison Litigation Reform Act, and (C) an Interrogatory Form for use in actions



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 that do require application of the Prison Litigation Reform Act.

       ANNOTATIONS AND COMMENTS

       I.     Elements of Unlawful Arrest Claim

        A warrantless arrest without probable cause violates the Constitution and
 provides a basis for a § 1983 claim. Kingsland v. City of Miami, 382 F.3d 1220, 1226
 (11th Cir. 2004). However, the existence of probable cause at the time of arrest
 constitutes an absolute bar to a § 1983 action for unlawful arrest. Id. “Probable
 cause to arrest exists when an arrest is objectively reasonable based on the totality
 of the circumstances.” Id. (citing Rankin v. Evans, 133 F.3d 1425, 1435 (11th Cir.
 1998)). “This standard is met when the facts and circumstances within the officer’s
 knowledge, of which he or she has reasonably trustworthy information, would cause a
 prudent person to believe, under the circumstances shown, that the suspect has
 committed, is committing, or is about to commit an offense.” Id. (internal
 quotations omitted).

       II.    Elements of Unlawful Search Claim

        The Fourth Amendment provides that “[t]he right of the people to be secure
 in their persons, houses, papers, and effects, against unreasonable searches and
 seizures, shall not be violated.” In regard to unreasonable searches, the Fourth
 Amendment protects certain areas over which individuals manifest “a subjective
 expectation of privacy” and where “society is willing to recognize that expectation as
 reasonable.” Kyllo v. United States, 533 U.S. 27, 27-28 (2001). The home is one such
 area where it is readily accepted that an expectation of privacy exists. Id. at 34; see
 also Kentucky v. King, 563 U.S. 452, 474 (2011). Accordingly, the United States
 Supreme Court has held that “searches and seizures inside a home without a warrant
 are presumptively unreasonable.” King, 563 U.S. at 459 (citation omitted). However,
 there are two principal exceptions to the search warrant requirement which are
 detailed in this instruction—searches conducted by consent or under exigent
 circumstances. See Katz v. United States, 389 U.S. 347, 357 (1967).

        “The Fourth Amendment recognizes a valid warrantless entry and search of
 premises when police obtain the voluntary consent of an occupant who shares, or
 is reasonably believed to share, authority over the area in common with a co-occupant
 who later objects to the use of evidence so obtained.” Georgia v. Randolph, 547 U.S.
 103, 106 (2006). Additionally, a “well-recognized exception applies when the
 exigencies of the situation make the needs of law enforcement so compelling that a
 warrantless search is objectively reasonable under the Fourth Amendment.” King,



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 563 U.S. at 460 (internal quotations omitted). The Supreme Court has identified
 several exigencies that may justify a warrantless search of a home. This instruction
 includes a description of the “emergency aid” exception, under which “officers may
 enter a home without a warrant to render emergency assistance to an injured
 occupant or to protect an occupant from imminent injury.” See Brigham City v.
 Stuart, 547 U.S. 398, 403 (2006). Other recognized exigent circumstances include
 where officers are “in hot pursuit of a fleeing suspect,” King, 563 at 460 (citing United
 States v. Santana, 427 U.S. 38, 42-43 (1976)), and where there is a need to “prevent
 the imminent destruction of evidence.” Id.

        Additional exceptions not detailed in this instruction include the plain view
 exception, see Kyllo, 533 U.S. 27, 38-40, and the exception for search incident to
 a lawful arrest. See Maryland v. Buie, 494 U.S. 325, 334 (2009). This instruction may
 be altered if an exception other than consent or an exigent circumstance is at issue in a
 particular case.

        III.   Elements of Unlawful Terry Stop Claim

          “[L]aw enforcement officers may seize a suspect for a brief, investigatory
 Terry stop where (1) the officers have a reasonable suspicion that the suspect was
 involved in, or is about to be involved in, criminal activity, and (2) the stop ‘[is]
 reasonably related in scope to the circumstances which justified the interference in
 the first place.’” United States v. Jordan, 635 F.3d 1181, 1186 (11th Cir. 2011)
 (quoting Terry v. Ohio, 392 U.S. 1, 19-20, 30 (1968)). Determining the
 unreasonableness of a seizure within the meaning of the Fourth Amendment requires
 balancing “the nature and quality of the intrusion on the individual’s Fourth
 Amendment interests against the importance of the governmental interests alleged to
 justify the intrusion. When the nature and extent of the detention are minimally
 intrusive of the individual’s Fourth Amendment interests, the opposing law
 enforcement interests can support a seizure based on less than probable cause.”
 Courson v. McMillian, 939 F.2d 1479, 1490 (11th Cir. 1991) (quoting United States v.
 Place, 462 U.S. 696, 703 (1983)). The reasonableness of an investigatory stop is
 examined under the totality of the circumstances. United States v. Lewis, 674 F.3d
 1298, 1303 (11th Cir. 2012) (citing Samson v. California, 547 U.S. 843, 848 (2006);
 Jordan, 635 F.3d at 1186).

        “A brief stop of a suspicious individual, in order to determine his identity or to
 maintain the status quo momentarily while obtaining more information, may be
 most reasonable in light of the facts known to the officer at the time.” Courson, 939
 F.2d at 1490 (quoting Adams v. Williams, 407 U.S. 143, 145-46 (1972)). “While
 ‘reasonable’ suspicion is a less demanding standard than probable cause and requires a



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 showing considerably less than preponderance of the evidence, the Fourth
 Amendment requires at least a minimal level of objective justification for making the
 stop.” Illinois v. Wardlow, 528 U.S. 119, 123 (2000). Alternatively stated, “[r]easonable
 suspicion need not involve the observation of illegal conduct, but does require ‘more
 than just a hunch.’” Lewis, 674 F.3d at 1303 (citation omitted). “The detaining officer
 ‘must have a particularized and objective basis for suspecting the person of criminal
 activity.’” United States v. Cruz, 909 F.2d 422, 424 (11th Cir. 1989) (quoting United
 States v. Aldridge, 719 F.2d 368, 371 (11th Cir. 1983)).

        Even if an officer has reasonable suspicion to make a valid Terry stop, the
 encounter may mature into a detention that amounts to an arrest for which probable
 cause is required. United States v. Acosta, 363 F.3d 1141, 1145-46 (11th Cir.
 2004). The Eleventh Circuit has set forth four non-exclusive factors which may be
 considered in “drawing the line between a Terry stop and an arrest in an individual
 case.” Id. at 1146. These factors include: “the law enforcement purposes served by the
 detention, the diligence with which the police pursue the investigation, the scope
 and intrusiveness of the detention, and the duration of the detention.” Id. (citation
 omitted).

       IV.    Causation

         “A § 1983 claim requires proof of an affirmative causal connection between
 the defendant’s acts or omissions and the alleged constitutional deprivation.”
 Troupe v. Sarasota Cnty., Fla., 419 F.3d 1160, 1165 (11th Cir. 2005) (citing Zatler v.
 Wainwright, 802 F.2d 397, 401 (11th Cir. 1986)). The requisite causation includes
 proof of legal and proximate causation. Jackson v. Sauls, 206 F.3d 1156, 1168 n.16
 (11th Cir. 2000). Thus, “a plaintiff must show that, except for that constitutional tort,
 such injuries and damages would not have occurred and further that such injuries and
 damages were the reasonably foreseeable consequences of the tortious acts or
 omissions in issue.” Id. at 1168. The model instruction makes clear that the
 plaintiff must prove both legal and proximate causation in accordance with Eleventh
 Circuit case law.

       V.     Damages

       For the damages instruction, see Pattern Instruction 5.13




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                                         5.13
                  Civil Rights – 42 U.S.C. § 1983 Claims – Damages

       You should assess the monetary amount that a preponderance of the

 evidence justifies as full and reasonable compensation for all of Plaintiff

 Anderson’s damages—no more, no less. You must not impose or increase these

 compensatory damages to punish or penalize Defendant Ferreira. And you must

 not base these compensatory damages on speculation or guesswork. But

 compensatory damages are not restricted to actual loss of money—they also

 cover the physical aspects of the injury. Plaintiff Anderson does not have to

 introduce evidence of a monetary value for intangible things like physical pain.

 You must determine what amount will fairly compensate him for those claims.

 There is no exact standard to apply, but the award should be fair in light of the

 evidence.

       You should consider the following elements of damage, to the extent

 you find that Plaintiff Anderson has proved them by a preponderance of the

 evidence, and no others: [List recoverable damages, e.g.:

        (a)   Wages, salary, profits, and the reasonable value of working

 time that Plaintiff Anderson lost because of his inability or diminished

 ability to work, and the present value of such compensation that




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 Plaintiff Anderson is reasonably certain to lose in the future because of

 his inability or diminished ability to work;

       (b)    Plaintiff Anderson’s mental and emotional distress,

 impairment of reputation, and personal humiliation, including such

 mental or emotional harm that Plaintiff Anderson is reasonably certain

 to experience in the future; and

       (c)    Attorney’s fees paid to date on the criminal charges against

 Mr. Anderson along with costs of bond, impound fees, etc. [Defendants

 object to this proposed instruction.]

        [Nominal Damages: You may award $1.00 in nominal damages and no

 compensatory damages if you find that: (a) Plaintiff Anderson has submitted no

 credible evidence of injury; or (b) Plaintiff Anderson’s injuries have no monetary

 value or are not quantifiable with any reasonable certainty; or (c) Defendant

 Ferreira used both justifiable and unjustifiable force against Plaintiff Anderson

 and it is entirely unclear whether Plaintiff Anderson’s injuries resulted from the

 use of justifiable or unjustifiable force.]

       [Mitigation of Damages: Anyone who claims loss or damages as a result of

 an alleged wrongful act by another has a duty under the law to “mitigate”

 those damages—to take advantage of any reasonable opportunity that may



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 have existed under the circumstances to reduce or minimize the loss or

 damage. So, if you find that Defendant Ferreira has proved by a preponderance

 of the evidence that Plaintiff Anderson did not seek out or take advantage of

 a reasonable opportunity to reduce or minimize the loss or damage under all

 the circumstances, you should reduce the amount of Plaintiff Anderson’s

 damages by the amount that he could have reasonably received if he had taken

 advantage of such an opportunity.]

       [Punitive Damages:

       If you find for Plaintiff Anderson and find that Defendant Ferreira acted

 with malice or reckless indifference to Plaintiff Anderson’s federally protected

 rights, the law allows you, in your discretion, to award Plaintiff Anderson punitive

 damages as a punishment for Defendant Ferreira and as a deterrent to others.

       Plaintiff Anderson must prove by a preponderance of the evidence that

 he is entitled to punitive damages.

       Defendant Ferreira acts with malice if his conduct is motivated by evil

 intent or motive. Defendant Ferreira acts with reckless indifference to the

 protected federal rights of Plaintiff Anderson when Defendant Ferreira engages in

 conduct with a callous disregard for whether the conduct violates Plaintiff

 Anderson’s protected federal rights.



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       If you find that punitive damages should be assessed, you may consider

 the evidence regarding Defendant Ferreira’s financial resources in fixing the

 amount of punitive damages to be awarded. [You may also assess punitive

 damages against one or more of the individual Defendants, and not others, or

 against one or more of the individual Defendants in different amounts.]]



       ANNOTATIONS AND COMMENTS

       I.     The Prison Litigation Reform Act of 1995 (PLRA)

         Pursuant to the PLRA, “[n]o Federal civil action may be brought by a prisoner
 confined in a jail, prison, or other correctional facility, for mental or emotional
 injury suffered while in custody without a prior showing of physical injury or the
 commission of a sexual act (as defined in section 2246 of Title 18).” 42 U.S.C. §
 1997e(e). In the Eleventh Circuit, a prisoner or pretrial detainee who suffers a
 constitutional violation without more than a de minimis physical injury may recover
 nominal damages, but not compensatory or punitive damages. See, e.g., Brooks v.
 Warden, 800 F.3d 1295, 1307-09 (11th Cir. 2015); Al-Amin v. Smith, 637 F.3d 1192,
 1195-99 (11th Cir. 2011) (affirming district court’s exclusion at trial of evidence
 concerning compensatory and punitive damages where there was no evidence
 plaintiff suffered a physical injury); cf. Calhoun v. DeTella, 319 F.3d 936, 940-41 (7th
 Cir. 2003) (noting the circuit split regarding the application of the PLRA’s bar on
 damages). The “availability of declaratory or injunctive relief” as determined by the
 court is not affected by the PLRA. Boxer X v. Harris, 437 F.3d 1107, 1111 n.3 (11th Cir.
 2006).

        Although physical injury must be more than de minimis to recover
 compensatory and punitive damages under the PLRA, the physical injury need
 not be significant. Harris v. Garner, 190 F.3d 1279, 1286-87 (11th Cir. 1999),
 vacated, 197 F.3d 1059 (11th Cir. 1999), reinstated in pertinent part, 216 F.3d 970
 (11th Cir. 2000) . The Eleventh Circuit has not precisely defined what constitutes de
 minimis physical injury. Case law indicates that a de minimis physical injury includes
 minor cuts and bruises. Nolin v. Isbell, 207 F.3d 1253, 1258 n.4 (11th Cir. 2000)
 (bruises received during an arrest were non-actionable de minimis injury); Harris,
 190 F.3d at 1286 (holding that a forced “dry shave” was a de minimis injury); Siglar v.



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 Hightower, 112 F.3d 191, 193-94 (5th Cir. 1997) (finding that a sore, bruised ear
 persisting for three days was de minimis). The instruction uses more than minimal
 injury, rather than more than de minimis injury because it is easier for jurors to
 understand and conveys the same idea.

        The damages limitations under the PLRA apply with equal force to claims by
 convicted prisoners and pretrial detainees. Goebert v. Lee Cty., 510 F.3d 1312,
 1322-25 (11th Cir. 2007) (applying PLRA to § 1983 claim by a pretrial detainee).
 However, the PLRA does not apply to lawsuits brought by individuals who are no
 longer in custody. Napier v. Preslicka, 314 F.3d 528, 531-34 (11th Cir. 2002).

       II.    Compensatory Damages

        “[W]hen § 1983 plaintiffs seek damages for violations of constitutional rights,
 the level of damages is ordinarily determined according to principles derived from
 the common law of torts.” Memphis Cmty. Sch. Dist. v. Stachura, 477 U.S. 299, 306
 (1986); accord Wright v. Sheppard, 919 F.2d 665, 669 (11th Cir. 1990). Damages may
 include monetary losses, such as lost wages, damaged property, and future medical
 expenses. Slicker v. Jackson, 215 F.3d 1225, 1231 (11th Cir. 2000)). Damages also may
 be awarded based on “physical pain and suffering” and “ demonstrated . . .
 impairment of reputation[] and “personal humiliation.” Slicker, 215 F.3d at 1231. The
 general rule requiring plaintiffs to mitigate damages applies in actions under 42
 U.S.C. § 1983. See, e.g., Murphy v. City of Flagler Beach, 846 F.2d 1306, 1309-10
 (11th Cir. 1988). Accordingly, the instruction provides an optional bracketed charge
 regarding mitigation of damages.

         “[C]ompensatory damages under § 1983 may be awarded only based on
 actual injuries caused by the defendant and cannot be presumed or based on the
 abstract value of the constitutional rights that the defendant violated.” Slicker, 215
 F.3d at 1229 (emphasis omitted). Consequently, when a plaintiff does not provide
 any “proof of a specific, actual injury caused by” the defendant’s conduct, the plaintiff
 is not entitled to compensatory damages. Kelly v. Curtis, 21 F.3d 1544, 1557 (11th Cir.
 1994).

       III.   Nominal Damages

        The instruction reflects the three situations identified in Slicker, a non-PLRA
 case, where an award of nominal damages is appropriate. Slicker, 215 F.3d at 1232.

        In cases that are not subject to the PLRA, an award of nominal damages may
 be sufficient to justify an award of punitive damages in a § 1983 action. Amnesty Int’l,
 USA v. Battle, 559 F.3d 1170, 1177-78 & n.3 (11th Cir. 2009) (noting that if plaintiff



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 organization is successful on its claim of a First Amendment violation permitting
 nominal damages, then “punitive damages may be available” as well); Davis v. Locke,
 936 F.2d 1208, 1214 (11th Cir. 1991) (affirming award of punitive damages even
 though jury awarded plaintiff nominal damages but not compensatory damages).

       IV.    Punitive Damages

        In order to receive punitive damages in § 1983 actions, a plaintiff must show
 that the defendant’s conduct was “motivated by evil motive or intent” or involved
 “reckless or callous indifference to the federally protected rights of others.” Smith v.
 Wade, 461 U.S. 30, 56 (1983). Punitive damages in § 1983 claims are not recoverable
 against government entities. Young Apartments, Inc. v. Town of Jupiter, Fla., 529 F.3d
 1027, 1047 (11th Cir. 2008). In a case brought against both individuals and government
 entities, the instructions should expressly state that punitive damages may be assessed
 only against the individual defendants for their respective conduct.




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                                      406.5 MALICE



       One acts maliciously in instituting a criminal proceeding against another if he or
 she does so for the primary purpose of injuring the other, or recklessly and without
 regard for whether the proceeding is justified, or for any primary purpose except to bring
 an offender to justice. In determining whether Defendant, Zachary Ferreira acted
 maliciously, you may consider all the circumstances at the time of the conduct
 complained of, including any lack of probable cause to institute the proceeding.




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                 406.6 INSTITUTING OR CONTINUING A PROCEEDING

        One is regarded as having instituted a criminal proceeding against another if the
 proceeding resulted directly and in natural and continuous sequence from his or her
 actions, so that it reasonably can be said that, but for his or her actions, the proceeding
 would not have been instituted.

                                  NOTE ON USE FOR 406.6

       See Kilburn v. Davenport, 286 So.2d 241 (Fla. 3d DCA 1973); Zippy Mart, Inc. v.
 Mercer, 244 So.2d 522 (Fla. 1st DCA 1970).




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                                  406.7 LEGAL CAUSE


 a.   Legal cause generally:


      The malicious institution of a proceeding is a cause of loss or damage if it directly
 and in natural and continuous sequence produces or contributes substantially to
 producing such loss or damage, so that it can reasonably be said that, but for the
 malicious institution of a proceeding, the loss or damage would not have occurred.




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                                 406.8 ISSUES ON CLAIM

        The issues you must decide on Plaintiff’s claim against Defendant, Zachary Ferreira,
 are whether Defendant, Zachary Ferreira, maliciously and without probable cause
 instituted a criminal proceeding against Plaintiff which later terminated in favor of Plaintiff
 and, if so, whether that action was a legal cause of loss or damage to Plaintiff.




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                         406.9 BURDEN OF PROOF ON CLAIM

      If the greater weight of the evidence does not support Plaintiff’s claim, your verdict
 should be for Defendant, Zachary Ferreira.

      However, if the greater weight of the evidence supports Plaintiff’s claim, then your
 verdict should be for Plaintiff and against Defendant, Zachary Ferreira then you shall
 consider the defense raised by Defendant, Zachary Ferreira.




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                  406.11 BURDEN OF PROOF ON DEFENSE ISSUES

      If the greater weight of the evidence supports the defense, your verdict should be
 for Defendant, Zachary Ferreira. However, if the greater weight of the evidence does not
 support the defense and does support Plaintiff’s claim, your verdict should be for Plaintiff
 and against Defendant, Zachary Ferreira.




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                    406.12 MALICIOUS PROSECUTION DAMAGES


        If you find for Defendant, Zachary Ferreira, you will not consider the matter of
 damages. But, if you find for Plaintiff, you should award Plaintiff an amount of money that
 the greater weight of the evidence shows will fairly and adequately compensate Plaintiff
 for such loss or damage as the greater weight of the evidence shows was caused by the
 institution of the proceeding complained of.

      If you find for Plaintiff you shall consider the following elements of damage:



       The reasonable expenses, including lawyers’ fees, necessarily incurred by Plaintiff
 in the proceeding complained of.



      The cost of bond and impound expenses;

      Lost wages/earnings;

      Mental and/or emotional anguish;

      Embarrassment and humiliation;




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                             407.2 SUMMARY OF CLAIMS


       In addition to the Federal Civil Rights and State Law Malicious Prosecution Claims,
 Plaintiff claims that Defendant, Zachary Ferreira, intentionally restrained him under
 circumstances that were unreasonable and unwarranted and without legal authority,
 which caused him harm.



      Defendant, Zachary Ferreira, denies that claim and affirmatively alleges that he had
 probable cause to restrain the Plaintiff.



      The parties must prove all claims [and defenses] by the greater weight of the
 evidence. I will now define some of the terms you will use in deciding this claim.




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                           407.4 INTENTIONAL RESTRAINT



       “Intentional restraint” means that Defendant, Zachary Ferreira, restrained Plaintiff
 with the purpose of causing the restraint.



       To be restrained means that Plaintiff was held against his will and did not consent
 to the restraint. In other words, a person is restrained when he is not free to leave the
 place to which he had been confined.



      A restraint is without “lawful authority” if Defendant, Zachary Ferreira, did not act
 under color of or claim of lawful authority.




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                                   407.5 LEGAL CAUSE



 a.   Legal cause generally:



       An unlawful and intentional restraint is a cause of loss or damage if it directly and in
 natural and continuous sequence produces or contributes substantially to producing such
 loss injury or damage, so that it can reasonably be said that, but for the unlawful and
 intentional restraint, the loss or damage would not have occurred.




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                                407.6 ISSUES ON CLAIM



       The issues for you to decide on Plaintiff’s claim against Defendant, Zachary Ferreira
 are whether Defendant, Zachary Ferreira, without legal authority, intentionally caused
 Plaintiff to be restrained against his will in a manner that was unreasonable and
 unwarranted under the circumstances, and, if so, whether that restraint was a legal cause
 of loss or damage to Plaintiff.




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                         407.7 BURDEN OF PROOF ON CLAIM



      If the greater weight of the evidence does not support Plaintiff’s claim, your verdict
 should be for Defendant, Zachary Ferreira.



      However, if the greater weight of the evidence supports Plaintiff’s claim, then your
 verdict should be for Plaintiff and against Defendant, Zachary Ferreira [then you shall
 consider the defense[s] raised by Defendant, Zachary Ferreira].




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                      407.10 FALSE IMPRISONMENT DAMAGES



       If you find for Defendant, Zachary Ferreira, you will not consider the matter of
 damages. But, if you find for Plaintiff, you should award Plaintiff an amount of money that
 the greater weight of the evidence shows will fairly and adequately compensate Plaintiff
 for the loss or damage as the greater weight of the evidence shows was caused by the
 conduct complained of.



      If you find for Plaintiff, you shall consider the following elements of damages:



      The cost of bond and impound expenses;

      Lost wages/earnings;

      Mental and/or emotional anguish;

      Embarrassment and humiliation;




     If you find for Plaintiff but find that no loss or damage has been proved, you should
 award Plaintiff nominal damages. Nominal damages are damages of an inconsequential
 amount which are awarded when a wrong has been done but no actual damage is proved.



      See instructions 503.1 and 503.2 for punitive damages.




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